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                            UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF LOUISIANA


In Re: KATRINA CANAL BREACHES                     CIVIL ACTION
CONSOLIDATED LITIGATION                           NUMBER: 05-4182 “K”(2)
                                                  JUDGE Duval
                                                  MAG. Wilkinson

PERTAINS TO: MRGO
             Armstrong, No. 10-866



ARMSTRONG PLAINTIFFS’ MEMORANDUM IN SUPPORT OF EX PARTE MOTION
             FOR LEAVE TO FILE REPLY MEMORANDUM

       Plaintiffs filed their Motion & Memorandum to Strike Defendant WGI’s Res Judicata and

Preclusion Defense (Doc. No. 20327) on July 15, 2011. Defendant WGI filed their Opposition

to Plaintiffs’ Motion (Doc. No. 20355) on August 2, 2011.

       Plaintiffs’ motion and WGI’s opposition raise significant issues with respect the scope of

Plaintiffs’ negligence claims against WGI as those claims relate to WGI’s work performed along

the eastern portion of the IHNC between Florida Avenue and Claiborne Avenue pursuant to Task

Order 26.

       By the filing of a reply brief, Plaintiffs wish to draw the Court’s attention to material

issues concerning WGI’s contention that Plaintiffs’ are barred or otherwise precluded from

pursuing their negligence claims against WGI for any work WGI’s performed other than the

work at Boland and Saucer Marine. The reply contends that WGI is incorrect because (1)

Plaintiffs’ and WGI’s summary judgment and appellate papers discuss all of WGI’s negligent

work, and the damage that negligent work caused, when it was performed pursuant to Task

Order 26; (2) WGI cannot establish the necessary elements of res judicata and/or collateral



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estoppel, (3) WGI cannot establish that Plaintiffs abandoned their claim concerning WGI’s

negligent work beyond Boland and Saucer Marine, and (4) limiting Plaintiffs’ claims against

WGI to only the work at Boland and Saucer Marine would be manifestly unjust.

       Accordingly, Plaintiffs wish to file the attached reply memorandum (Exhibit 1) in support

of their Motion to Strike Defendant WGI’s Res Judicata and Preclusion Defense. The filing of a

reply will not cause any delay of this matter or result in any prejudice to WGI.

       WHEREFORE, for the foregoing reasons, Plaintiffs request that this Court grant this Ex

Parte Motion for Leave and file the attached reply memorandum into the record attached hereto

as Exhibit 1.

       Dated: August 5, 2011

                              Respectfully Submitted,
                              PLAINTIFFS LIAISON COUNSEL

                                  /s/ Joseph M. Bruno
                              JOSEPH M. BRUNO (La. Bar # 3604)
                              Bruno & Bruno, LLP
                              855 Baronne Street
                              New Orleans, Louisiana 70113
                              Telephone: (504) 525-1335
                              Facsimile: (504) 561-6775
                              Email: jbruno@brunobrunolaw.com

                              MR-GO PLAINTIFFS SUB GROUP LITIGATION
                              COMMITTEE

                              Jonathan Andry (The Andry Law Firm, New Orleans, LA)
                              Clay Mitchell (Levin, Papantonio, et al., Pensacola, FL)
                              James Parkerson Roy (Domengeaux, Wright, et al., Lafayette, LA)


                                CERTIFICATE OF SERVICE

       I certify that a true and correct copy of the foregoing was served upon all counsel of
record by ECF on August 5, 2011.

                                      /s/ Joseph M. Bruno


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